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      INDEX OF EXHIBITS TO JOINT MEMORANDUM OF LAW ON BEHALF OF
     DEFENDANTS BINANCE HOLDINGS LIMITED AND CHANGPENG ZHAO IN
  OPPOSITION TO PLAINTIFF’S EMERGENCY MOTION FOR A RESTRAINING ORDER

EX. NO.                               DESCRIPTION                                            DKT. NO.
          Joint Memorandum of Law on Behalf of Defendants Binance Holdings Limited
  N/A     and Changpeng Zhao in Opposition to Plaintiff’s Emergency Motion for a                43
          Temporary Restraining Order
  N/A     Declaration of Jeffrey H. Harris                                                      45
  N/A     Declaration of J. Gregory Eastman                                                     46
          Declaration of Mary Beth Maloney in Support of Joint Memorandum of Law on
  N/A     Behalf of Defendants Binance Holdings Limited and Changpeng Zhao in                   53
          Opposition to Plaintiff’s Emergency Motion for a Temporary Restraining Order
          September 1, 2022 Binance Blog Post titled, “Who Is Guangying Chen, and Is
 BH-1     Binance a ‘Chinese Company’?”                                                        53-1

          Web archive of the October 25, 2022 Business Insider article titled, “Meet
 BH-2     Changpeng ‘CZ’ Zhao, the CEO of Binance and the richest man in crypto who            53-1
          worked at a gas station before making his $30 billion fortune”
          November 15, 2022 CNN article titled, “Who is Binance founder Changpeng
 BH-3     ‘CZ’ Zhao, the billionaire who wants to ‘rebuild’ crypto?”                           53-1

          December 10, 2022 DailyCoin article titled, “Changpeng Zhao: The Man Named
 BH-4     ‘CZ’”                                                                                53-1

          January 11, 2022 StartupTalky article titled, “Changpeng Zhao – Success Story
 BH-5     of the Binance Founder”                                                              53-1

 BH-6     April 5, 2022 Times Decrypt article titled, “Binance Coin – Meet the team”           53-1
 BH-7     The bylaws of BAM Management US Holding Inc., dated February 5, 2019                 53-1
          The Certificate of Incorporation of Bam Trading Services Inc., dated January 31,
 BH-8     2019                                                                                 53-1

 BH-9     The bylaws of BAM Trading Services Inc. (“BAM”), dated February 5, 2019              53-1
 BH-10    Binance.US webpage of state licenses                                                 53-1
          Web archive of Binance Terms of Use, effective on June 14, 2019, that was
 BH-11    bates stamped BHL-SEC-BUSD-0000675 and produced to the Commission.                   53-2

          Web archive of the September 24, 2019 Binance.US announcement titled,
 BH-12    “Binance.US Opens Trading For BTC, ETH, XRP, BCH, LTC, BNB and                       53-2
          USDT”
 BH-13    Intentionally omitted
          Letter sent from Commission Senior Trial Counsel Jennifer Farer to BHL, dated
 BH-14    May 30, 2023                                                                         53-2


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EX. NO.                                  DESCRIPTION                                        DKT. NO.
          Letter sent from Stephanie Brooker, Kendall Day, and Richard Grime of Gibson
 BH-15    Dunn and William Baker, Benjamin Naftalis, and Douglas Yatter of Latham &           53-2
          Watkins LLP to the Commission, dated June 4, 2023
          Letter sent from the Commission to William McLucas of WilmerHale LLP
 BH-16    (“WilmerHale”), dated May 30, 2023                                                  53-2

          Letter sent from William McLucas of WilmerHale on behalf of BAM to the
 BH-17    Commission, dated June 1, 2023                                                      53-2

          Letter sent from William McLucas of WilmerHale on behalf of BAM to the
 BH-18    Commission, dated June 2, 2023                                                      53-2

          Email chain between David Ware and Richard Grime from Gibson Dunn on one
 BH-19    hand, and the Commission on the other hand. The most recent email in the chain      53-2
          is dated June 5, 2023
          Proposed stipulation sent from Stephanie Brooker of Gibson Dunn on behalf of
 BH-20    all defendants, dated June 11, 2023                                                 53-2

 BH-21    April 21, 2023 Motley Fool article titled, “What is Staking in Crypto”              53-3
          November 30, 2017 Tech In Asia article titled, “Three months after launch, this
 BH-22    unbanked crypto exchange made $7.5m in profit”                                      53-3

          Binance.com’s message to U.S. users, dated November 9, 2020, that was bates
 BH-23    stamped BHL-SEC-BUSD-0308230 and produced to the Commission                         53-3

          Binance.com August 20, 2021 announcement titled, “Important Changes About
 BH-24    Binance Identity Verification”                                                      53-3

          Commission’s website article titled, “Framework for ‘Investment Contract’
 BH-25    Analysis of Digital Assets”                                                         53-3

          December 21, 2021 Binance Blog post titled, “Introducing BNB Auto-Burn: a
 BH-26    new Protocol for the Quarterly BNB Burn”                                            53-3

 BH-27    Webpage found at: https://coinmarketcap.com/currencies/bnb/                         53-3
 BH-28    Travala advertisement titled, “Book Hotels with Binance Coin (BNB)”                 53-3
          CanWork advertisement titled, “Access Global Freelance Talent with Smart-
 BH-29    Contract Confidence”                                                                53-3

 BH-30    Aeron advertisement titled, “Pilot Shop”                                            53-3
 BH-31    Webpage found at: https://machix.com/                                               53-4
          October 22, 2021 BNB Chain blog post titled, “Introducing BEP-95 With a
 BH-32    Real-Time Burning Mechanism”                                                        53-4

 BH-33    Webpage found at https://github.com/bnb-chain/BEPs/pull/176                         53-4
 BH-34    Webpage found at https://paxos.com/busd/                                            53-4


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EX. NO.                               DESCRIPTION                                           DKT. NO.
          November 15, 2022 Binance Blog post titled, “Understanding BUSD and
 BH-35    Binance-Peg BUSD”                                                                   53-4

          PWG, FDIC and OCC report titled, “Report on STABLECOINS,” dated
 BH-36    November 1, 2021                                                                    53-4

          August 19, 2022 Binance Blog post titled, “Are Stablecoins the Safe Haven of
 BH-37    Crypto? Protect Your Wealth With BUSD and BGBP Stablecoins”                         53-4

          Paxos article titled, “Outside of the Paxos platform, where can I use my Paxos
 BH-38    stablecoins?”                                                                       53-4

          September 23, 2021 CoinTelegraph article titled, “BUSD: A case study for
 BH-39    stablecoin compliance and security”                                                 53-4

          February 13, 2023 CoinDesk article titled, “What’s the Point of Stablecoins?
 BH-40    The Reasons, Risks and Types to Know”                                               53-4

          Software License Services Agreement between BAM Trading Services Inc. and
 BH-41    Binance Holdings Limited, dated January 7, 2020                                     53-5

          Master Services Agreement between BAM Trading Services Inc. and Binance
 BH-42    Holdings Limited, dated January 7, 2020                                             53-5

          Letter sent by Brian Shroder on behalf of BAM to the Commission dated
 BH-43    December 30, 2022                                                                   53-5

          Commission’s website post of Commissioner Hester Peirce’s January 20, 2023
 BH-44    remarks before the Digital Assets at Duke Conference                                53-5

          July 21, 2021 CoinDesk article titled, “SEC Chair Hints Some Stablecoins Are
 BH-45    Securities”                                                                         53-5

          October 14, 2022 Reuters article titled, “SEC’s Gensler says CFTC authority
 BH-46    over stablecoins should be bolstered”                                               53-5

 BH-47    March 31, 2022 Commission “Response to Staff Accounting Bulletin”                   53-5
          October 7, 2021 Fintech Times article titled, “Binance: Helping to Build
 BH-48    Financial Freedom in Africa with Cryptocurrency and Blockchain”                     53-5

          September 4, 2021 Financial Times article titled, “Cryptocurrencies: developing
 BH-49    countries provide fertile ground”                                                   53-5

          January 13, 2023 Financial Express article titled, “What can cryptocurrencies
 BH-50    ensure for economic development of third-world countries”                           53-5

          February 5, 2021 Reason article titled, “Bitcoin Is Protecting Human Rights
 BH-51    Around the World”                                                                   53-6

          July 26, 2022 National article titled, “Why cryptocurrencies are a lifeline for
 BH-52    people in developing countries”                                                     53-6




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EX. NO.                                  DESCRIPTION                                       DKT. NO.
          November 30, 2021 International Banker article titled, “Why Emerging Markets
 BH-53    are Early Adopters of Crypto as Legal Tender”                                      53-6

          December 19, 2012 Gallup article titled, “Income Biggest Barrier to Banking in
 BH-54    Developing Countries”                                                              53-6

          December 15, 2019 CoinDesk article titled, “Even if a Thousand Projects Don’t
 BH-55    Make It, Blockchain Is Still a Change Catalyst”                                    53-6

          February 23, 2019 New York Times article titled, “Bitcoin Has Saved My
 BH-56    Family”                                                                            53-6

          June 8, 2023, New Vox article titled, “Now Might Be A Good Time To Consider
 BH-57    Quitting Crypto”                                                                   53-6

 BH-58    April 2020 BNB Smart Chain Whitepaper                                              53-6
 BH-59    Webpage found at: https://www.bnbchain.org/en/staking                              53-6
 BH-60    Webpage found at: https://coinmarketcap.com/rankings/exchanges/                    53-6
 BH-61    Webpage found at: https://docs.bnbchain.org/docs/validator/create-val              53-7
 BH-62    Webpage found at: https://dappradar.com/rankings/protocol/binance-smart-chain      53-7
 BH-63    Webpage found at: https://www.binance.com/en                                       53-7
 BH-64    Webpage titled, “Welcome to Binance”                                               53-7
 BH-65    Webpage found at https://www.binance.com/en/mission                                53-7
 BH-66    2021 AICPA Auditing Standards AU-C Section 200                                     53-7
 BH-67    Spreadsheet titled 2 H360 - BAM Trading Services Inc.                              53-7
 BH-68    Spreadsheet titled 1 H360 - BAM Management US Holdings Inc.                        53-7
 BH-69    Webpage found at https://www.primetrust.com/about                                  53-7
 BH-70    Webpage found at https://www.wintermute.com/about/                                 53-7
 BH-71    Webpage found at https://subspace.network/                                         53-8
 BH-72    Webpage found at https://www.coinbase.com/about                                    53-8
 BH-73    Webpage found at https://www.kbit.com/                                             53-8
 BH-74    webpage found at https://www.auros.global/about/                                   53-8
          March 27, 2020 Forbes article titled, “Coinbase Buys Crypto Trading Firm
 BH-75    Tagomi To Boost Institutional Trading Business”                                    53-8

 BH-76    Bloomberg web profile titled, “Alameda Research”                                   53-8
 BH-77    AU Section 350.05 on “Audit Sampling”                                              53-8
 BH-78    Webpage found at https://gdpr.eu/what-is-gdpr/                                     53-8



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EX. NO.                                  DESCRIPTION                                       DKT. NO.
          Entry for “Net Income” in the Financial Accounting Standards Board, “Master
 BH-79    Glossary”                                                                          53-8

          June 5, 2023 Wall Street Journal Article titled, “SEC Says Binance Misused
 BH-80    Customer Funds, Ran Illegal Crypto Exchange in U.S.”                               53-8

          June 8, 2023 Economist article titled, “Regulators put the future of America’s
 BH-81    crypto industry in doubt”                                                          53-9

          March 2016 article from the Review of Financial Studies titled, “Policy
 BH-82    Uncertainty and Corporate Investment”                                              53-9

          August 2013 article from the Journal of Law, Economics, & Organization titled,
 BH-83    “The Effect of Regulatory Uncertainty on Investment: Evidence from                 53-9
          Renewable Energy Generation”
          August 2016 article from the Journal of Monetary Economics titled, “Lending
 BH-84    on Hold: Regulatory Uncertainty and Bank Lending Standards”                        53-9

          January 2020 article from the Journal of Monetary Economics titled, “The
 BH-85    economic effects of trade policy uncertainty”                                      53-9

          January 2020 article from the American Economic Journal: Economic Policy
 BH-86    titled, "Trade and investment under policy uncertainty: theory and firm            53-9
          evidence"
          November 2019 article from the Journal of Economic Asymmetries titled,
 BH-87    “Economic policy uncertainty: A literature review”                                 53-9

          CoinMarketCap article titled, “Stablecoins And BUSD: What Are They And
 BH-88    How do they work?”                                                                 53-9

 BH-89    Webpage found at https://www.binance.com/en/bnb                                    53-9
          October 21, 2022 Binance Blog post titled, “Binance and BNB Chain: What’s
 BH-90    the Difference?”                                                                   53-9

 BH-91    December 16, 2022 Federal Reserve article titled, “The stable in stablecoins”      53-10
          November 16, 2021 Binance Blog post titled, “BUSD: All You Need To Know
 BH-92    About the Stablecoin”                                                              53-10

          CoinMarketCap webpage, found at
 BH-93    https://coinmarketcap.com/currencies/binance-usd/                                  53-10

 BH-94    Cryptocompare article titled, “February 2023 Exchange Review”                      53-10
          CoinGecko article titled, “Potential Impact of CFTC’s Lawsuit on Binance.US
 BH-95    Users”                                                                             53-10

          Robinhood article titled, “Cardano (ADA), Polygon (MATIC), Solana (SOL)
 BH-96    Update”                                                                            53-10




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EX. NO.                                   DESCRIPTION                                        DKT. NO.
          Yahoo Finance article titled, “Robinhood moves to cut support for Cardano,
 BH-97    Polygon, and Solana”                                                                 53-10

 BH-98    Blockworks article titled, “Crypto.com to suspend US institutional exchange”         53-10
 BH-99    Webpage found at https://www.binance.com/en/legal/licenses                           53-10
          September 23, 2022 Wall Street Journal article titled, “Binance Hires
BH-100    Compliance Chief From Crypto Rival Kraken”                                           53-10

          Block article titled, “Binance’s new compliance chief sees mission to put crypto
BH-101    exchange giant ‘beyond reproach”                                                     53-10

          CoinMarketCap webpage, found at
BH-102    https://coinmarketcap.com/exchanges/binance-us/                                      53-10

  N/A     [Proposed] Consent Order                                                              54




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